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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

MIDAMINES SPRL LTD. (Ill. Corp.),
Plaintiff,                                           No. 18-cv-8226

v.                                                   Hon. John J. Tharp, Jr.
KBC BANK N.V.
Defendant.
_____________________________________/

      PLAINTIFF’S MOTION FOR ATTORNEY’S FEES UNDER 28 U.S.C. 1447(c)
      RELATIVE TO PLAINTIFF’S MOTION FOR REMAND TO STATE COURT

       Plaintiff, Midamines Sprl Ltd., respectfully moves for attorney’s fees pursuant to 28

U.S.C. 1447(c) against defendants and in support thereof states as follows:

                                       INTRODUCTION

       The removal action presently before the Court is nothing more than another delay tactic

by defendants to escape paying the funds which the KBC Bank blatantly stole from the

Plaintiff’s Illinois bank account in the amount of $35,110.72. Defendants unreasonably refuse to

return Midamines Sprl Ltd.’s money. It is the unlawful and tortious conduct of KBC Bank and

KBC Group that has necessitated litigation.

   I. KBC’s Defective Notice of Removal

       Defendants’ Notice of Removal (Doc. 1) on December 14, 2018 was defective and

removal was not effected as the Defendants KBC Bank NV and KBC Group NV – failed to:

“[p]romptly . . . file a copy of the notice with the clerk of such State court”, as was required by

28 U.S.C. § 1446(d). Removal jurisdiction is based entirely on statutes, which are to be strictly

construed in keeping with congressional intent to limit the right of removal out of concern for

state courts’ independent jurisdiction. See e.g., Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.

100, 108-09 (1941); Cook v. Weber, 698 F. 2d 907, 909 (7th Cir. 1983).




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   II. Plaintiff’s Amended Complaint Pending in the State Court Shows That There Is:
       (1) No Federal Question (2) No Diversity Jurisdiction (3) No Basis for Removal

       Plaintiff is the master of its complaint. Garbie v. Daimler Chrysler Corp., 211 F.3d 407,

410 (7 Cir. 2000). Plaintiff had the right to file its Amended Complaint in Illinois state court on

December 17, 2018 - because the Illinois state court had jurisdiction at that time, and the

purported Notice of Removal by KBC was defective, and the attempted “removal” had not been

effected on December 14, 2018, because KBC did not file promptly on December 14, 2018 the

required Notice of Removal with the Illinois state court pursuant 28 U.S.C. § 1446(d). The state

court had jurisdiction on December 17, 2018 at the time Plaintiff filed its Amended Complaint

and the Amended complaint controls herein. KBC’s purported Notice of Removal was defective

and not effective from the start on December 14, 2018. Plaintiff had the right to choose its

forum. The Seventh Circuit stated that: “Courts should interpret the removal statute narrowly

and presume that the Plaintiff may choose his or her own forum”. Doe v. Allied Signal, Inc., 985

F. 2d 908, 911 (7th Cir. 1993). There is a strong presumption in favor of remand. Additionally,

any doubt regarding jurisdiction should be resolved in favor of the states. Jones v. Gen. Tire &

Rubber Co., 541 F.2d 660, 664 (7th Cir.1976)). Chronologically, this matter progressed as such:

       A. On December 14, 2018, KBC files a defective Notice of Removal that is not effective
          and does not effect removal - as KBC did not promptly file the Notice of Removal in
          state court as required by 28 U.S.C. 1446(d).

       B. On December 17, 2018, Plaintiff, Midamines Sprl Ltd., filed its Amended Complaint
          in Illinois state court in Cook County, Law Division, Case No. 2018L012435
          Midamines Sprl Ltd. v. KBC Bank NV, before the Honorable Diane M. Shelley. A
          true and accurate copy of the Amended Complaint is attached herein.

       C. On December 18, 2018 Plaintiff filed an Opposition and Motion to Remand.

       D. KBC realized its defects and understood it had a defective Notice of Removal and
          knew it had not completed the required steps for “removal” and so KBC rushed to the
          state court to file on December 18, 2018 an untimely Notice of Removal in state court
          – but KBC did this only after the Plaintiff’s Opposition and Motion to Remand.



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          KBC’s attempted “removal” was not effective and was defective on December 14, 2018

and remains defective.     The Amended Complaint in the Illinois state court was filed on

December 17, 2018, before KBC’s attempt to “remedy” its defective “removal” on December 18,

2018 by an untimely filing in state court. Plaintiff filed its Amended Complaint on December

17, 2018 and the Illinois state court had jurisdiction at that time – and “removal” had not been

effected by KBC.      As defendants are aware the Amended Complaint seeks payment of one

Cashier’s check for $35,110.72. Defendants are also aware that: (a) there are no RICO claims

and no federal questions in the Amended Complaint in the state court and the initial pleading is

no longer applicable; and (b) the present claims in the Illinois state court are entirely governed by

state law, and (c) diversity jurisdiction is not available because the amount in controversy is less

than $75,000, exclusive of interest and costs, the jurisdictional amount is not met under 28 USC

1332(a)(2). On December 18, 2018, Plaintiff filed its Motion for Remand due to Defendants’

defective Notice of Removal and lack of any objectively reasonable basis for removal (Doc. 7).

   III.      KBC Defendants Had No Objectively Reasonable Basis To File The Notice of
             Removal In State Court After The Filing of the Plaintiff’s Amended Complaint

          After KBC Defendants realized their defects in their defective Notice of Removal of

December 14, 2018, by way of the Plaintiff’s Motion for Remand on December 18, 2018, the

KBC Defendants then proceeded with their defective filing in state court on December 18, 2018

by way of an untimely Certificate of Service and Notice of Filing of Notice of Removal (Doc.

9)). The delay in filing in state court by KBC was unnecessary and the Notice of Removal

remains defective, because the Notice of Removal of December 14, 2018, was not filed

“promptly” in state court as required by 28 U.S.C. 1446(d). See e.g., Colettie v. Ovaltine Food

Prods., 274 F. Supp. 719, 723 (D.P.R. 1967) (holding that a delay of five days was not prompt).




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         The defective and untimely Notice of Removal by KBC was filed in state court on

December 18, 2018 – and it was filed by KBC only after Plaintiff’s Amended Complaint on

December 17, 2018, and only after Plaintiff’s Motion for Remand on December 18, 2018.

Plaintiff had the right to file and structure its Amended Complaint to avoid federal jurisdiction.

See e.g., Anderson v. Bayer Corp., 610 F.3d 390, 393 (7th Cir. 2010). The Defendants seek

removal of the action from Illinois state court to this Court on the basis of “federal question”

jurisdiction and “diversity” jurisdiction – however, no such basis exists in the Amended

Complaint which is pending in the Illinois state court.

   IV.      Plaintiff is Entitled to Attorney’s Fees Pursuant to 28 U.S.C. 1447(c)

         28 U.S.C. 1447(c) provides that an “order remanding the case may require payment of

just costs and any actual expenses, including attorney’s fees incurred as a result of the removal”.

The Supreme Court held that “attorney’s fees may be awarded where the removing party lacked

an objectively reasonable basis for seeking removal”. Martin v. Franklin Capital Corp., 126 S.

Ct. 704, 711 (2005). This Court has a copy of the Amended Complaint from the Illinois state

court, and it is clear that the KBC defendants have no objectively reasonable basis for removal

from the Amended Complaint.       There are no grounds for federal jurisdiction and no diversity

jurisdiction and no federal question. For all the foregoing reasons, the case should be remanded

to the Hon. Diane M. Shelley in the Illinois state court, with an award of attorney’s fees, actual

expenses, and/or just costs.

Respectfully submitted,                                     Dated: December 20, 2018
s/ Hassan A. Abbas
Attorney for Plaintiff
Midamines Sprl Ltd., Illinois Corp.
211 West Wacker Drive
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                                                                                                                                     FILED
                                                                                                                                     12/17/2018 12:00 AM
                                                                    IN THE CIRCUIT COURT OF COOK COUNTY                              DOROTHY BROWN
                                                                                                                                     CIRCUIT CLERK
                                                                     ILLINOIS DEPARTMENT – LAW DIVISION
                                                                                                                                     COOK COUNTY, IL
FILED DATE: 12/17/2018 12:00 AM 2018L012435




                                                                                                                                     2018L012435
                                              MIDAMINES SPRL LTD.
                                              An Illinois Corporation                         No. 2018 L 012435
                                              Plaintiff,
                                                                                              Hon. Diane M. Shelley
                                              v.

                                              KBC BANK NV                                     Jury Demand
                                              Defendant.
                                              ________________________/

                                                                                 AMENDED COMPLAINT

                                                       NOW COMES the Plaintiff, MIDAMINES SPRL LTD., an Illinois corporation,

                                              (“Midamines)” by and through its attorney, Hassan A. Abbas, Esq., and respectfully files its

                                              Amended Complaint, and hereby complains of the Defendant, KBC BANK NV (“KBC

                                              Bank”), a Belgian bank with a branch in New York, and alleges upon personal knowledge of

                                              the activities and occurrences, unless alleged upon information and belief as to the activities

                                              of defendants KBC Bank, and/or others, and states as follows:

                                                                                NATURE OF THE ACTION

                                              1. This is an action against defendant for declaratory judgment, breach of contract,

                                                    commission of tortious acts in Illinois, such as conversion, transportation of stolen

                                                    property, fraudulent misrepresentations, unjust enrichment, violations of the Illinois

                                                    Uniform Commercial Code (IL UCC) and New York Uniform Commercial Code, (NY

                                                    UCC) and related claims, arising from KBC Bank’s unlawful stop payment of Plaintiff’s

                                                    Cashier’s check, and the unlawful removal of Midamines Sprl Ltd.’s funds from the

                                                    Plaintiff’s Illinois bank account after final payment has been effected, and theft by KBC

                                                    Bank. The causes of action are pled in the alternative, and by this action, Plaintiff seeks,

                                                    inter alia, payment of the Cashier’s check of $35,110.72, and return of the money owing

                                                    to Plaintiff, with compound interest for six years, and declaratory relief, compensatory

                                                    damages, restitution damages, other relevant damages, and attorney’s fees and costs.


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                                              2. Venue is proper as the transactions or some parts thereof occurred herein this jurisdiction,

                                                 out of which the cause/s of action arose, and the tortious conduct by KBC Bank occurred
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                                                 in Du Page County and/or Cook County, Illinois. (735 ILCS 5/Art. II Pt. 1).

                                              3. Illinois permits its courts to exercise jurisdiction based on the Illinois Long Arm Statute

                                                 and a variety of conditions which are relevant herein; such as, but not limited to: under

                                                 735 Ill. Comp. Stat. § 5/2–209(a)(2) i.e. for KBC Bank’s “commission of tortious acts in

                                                 Illinois”; and 735 Ill. Comp. Stat. § 5/2–209(a)(10) i.e. for KBC Bank’s unlawful taking

                                                 possession of Midamines Sprl Ltd.’s property located in Illinois, at the time that KBC

                                                 Bank knew it unlawfully took possession of the Plaintiff’s funds from Midamines Sprl

                                                 Ltd.’s Illinois bank account, and “breach of contract’ by KBC Bank in Illinois, and

                                                 fraudulent representations by KBC Bank. The Plaintiff’s injury was felt in Illinois.

                                                                                   RELEVANT FACTS

                                              4. Midamines Sprl Ltd. deposited the Cashier’s check of $35,110.72 drawn on KBC Bank

                                                 NV New York branch, around October 4, 2012, for payment to Plaintiff’s Illinois

                                                 business bank account at PNC in Illinois.

                                              5. Initially, the Cashier’s check was finally paid by KBC Bank on October 11, 2012, and the

                                                 funds were credited to Midamines Sprl Ltd.’s bank account in Illinois.

                                              6. On or around October 22, 2012, KBC Bank NV unlawfully converted and stole the

                                                 Plaintiff’s money, out of Midamines Sprl Ltd.’s bank account in Illinois, by way of

                                                 KBC’s reversing the final payment without authorization, and in violation of the banking

                                                 laws and in violation of the Illinois UCC, and in breach of its contractual obligations, and

                                                 by way of fraudulent misrepresentations to the Illinois bank/s and wire agent/s.

                                              7. KBC Bank intentionally targeted Illinois, and intentionally targeted Plaintiff’s funds in

                                                 Illinois, as KBC knew the funds had been paid to Illinois, as KBC had inserted the bank

                                                 routing numbers for payment to Illinois. KBC unlawfully removed and stole the funds.



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                                                 Count 1 – Breach of Contract

                                              8. KBC Bank breached the contract and obligations for payment of Plaintiff’s Cashier’s
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                                                 check drawn on KBC Bank New York, for $35,110.72 USD. Plaintiff, Midamines Sprl

                                                 Ltd., has performed all its obligations and conditions precedent are met. Plaintiff suffered

                                                 damages a result of KBC Bank’s breach of contract. Plaintiff is entitled to monetary

                                                 damages.

                                              9. Wherefore, Plaintiff respectfully requests and prays the Court order KBC Bank NV to

                                                 pay the amount of $35,110.72, to Plaintiff, Midamines Sprl Ltd., plus the applicable

                                                 interest, attorney’s fees and costs of this litigation, and for such other relief as this Court

                                                 deems just and proper.

                                                 Count 2 - Conversion

                                              10. In this complaint, plaintiff also alleges that Defendant KBC Bank committed the tort of

                                                 conversion when it, without authorization, stole and removed $35,110.72 from Plaintiff’s

                                                 bank account in Illinois, and then retained the Plaintiff’s funds indefinitely. Defendant

                                                 committed the tort of conversion when it, without authorization and in violation of law,

                                                 took Plaintiff’s money and then retained the funds indefinitely.

                                              11. Midamines Sprl Ltd., through counsel, requested return of its funds, and an amicable

                                                 resolution, but KBC refuses to return Plaintiff’s funds. KBC insists on being in court.

                                              12. Defendant converted the funds. (1) Defendant KBC Bank’s unauthorized and wrongful

                                                 assumption of control, dominion, or ownership over Plaintiff’s personal property; (2)

                                                 Plaintiff’s has a right in the property; (3) Plaintiff has a right to immediate possession of

                                                 the property, absolutely and unconditionally; and (4) Plaintiff demanded possession of the

                                                 property. See Bill Marek’s The Competitive Edge, Inc. v. Mickelson Group, Inc., 346 Ill.

                                                 App. 3d 996, 1003 (2004).




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                                              13. The Plaintiff’s funds of $35,110.72 are described, identified, or segregated in a specific

                                                 manner. Plaintiff is entitled to its own funds.
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                                              14. Wherefore, Plaintiff respectfully requests and prays the Court order KBC Bank NV to

                                                 pay the amount of $35,110.72, to Plaintiff, Midamines Sprl Ltd., plus the applicable

                                                 interest, attorney’s fees and costs of this litigation, and for such other relief as this Court

                                                 deems just and proper.

                                                 Count 3 – Unjust Enrichment

                                              15. The Illinois Supreme Court recognizes unjust enrichment as an independent cause of

                                                 action. See Raintree Homes, Inc. v. Vill. of Long Grove, 807 N.E.2d 439, 445 (Ill. 2004),

                                                 The basis for Plaintiff’s claim is restitution to prevent unjust enrichment. Plaintiff seeks

                                                 to recover its funds, unlawfully stolen and withheld by defendant KBC Bank. KBC knew

                                                 Plaintiff’s funds were located at the Plaintiff’s Illinois bank account at PNC. KBC

                                                 received the benefit, i.e. Plaintiff’s funds from PNC, a third party, but these funds and

                                                 benefits should be paid to Plaintiff as the funds belong to Midamines Sprl Ltd.

                                              16. KBC Bank received money and benefits that KBC should never have received and the

                                                 KBC should not have retained. The Plaintiff claims restitution. The Illinois Supreme

                                                 Court articulated the elements of unjust enrichment without a separate underlying claim

                                                 in tort, contract, or statute. See HPI Health Care Servs., 545 N.E.2d at 679.

                                              17. Wherefore, Plaintiff respectfully requests and prays the Court order KBC Bank NV to

                                                 pay the amount of $35,110.72, to Plaintiff, Midamines Sprl Ltd., plus the applicable

                                                 interest, attorney’s fees and costs of this litigation, and for such other relief as this Court

                                                 deems just and proper.

                                                 Count 4 – Declaratory Judgment

                                              18. Plaintiff seeks a declaration of its rights, and declaratory judgment, as Midamines Sprl

                                                 Ltd. has a right to possession of its funds of $35,110.72.



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                                              19. Midamines Sprl Ltd. has a superior right to possess its funds than KBC Bank NV and

                                                 who has no right to the funds. KBC Bank has unlawfully withheld the Plaintiff’s money.
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                                                 Defendant KBC Bank NV has no claim to the funds and no right to possess the funds at

                                                 issue which belong to Plaintiff Midamines Sprl Ltd.

                                              20. Wherefore, Plaintiff respectfully requests and prays the Court order KBC Bank NV to

                                                 pay the amount of $35,110.72, to Plaintiff, Midamines Sprl Ltd., plus the applicable

                                                 interest, attorney’s fees and costs of this litigation, and for such other relief as this Court

                                                 deems just and proper.

                                                 Count 5 – KBC Bank’s Violations of The Uniform Commercial Code

                                              21. KBC violated the Illinois laws, and banking rules, and KBC violated the Illinois Uniform

                                                 Commercial Code (IL UCC), 810 ILCS 5/4-302, and 810 ILCS 5/4-215. KBC Bank also

                                                 violated similar provisions of the New York Uniform Commercial Code (NY UCC)).

                                              22. The “Midnight Deadline Rule” and “Final Payment Rule” of the Uniform Commercial

                                                 Code hold that once a check is deposited, and midnight of the second business day after

                                                 deposit has passed, the check is deemed finally paid and the bank is liable for full

                                                 payment.

                                              23. KBC violated the Illinois Uniform Commercial Code “final payment” rule and “midnight

                                                 deadline” rule. The Plaintiff’s Cashier’s check was deposited October 4, 2012, and finally

                                                 paid October 11, 2012, and then the funds were unlawfully removed and stolen by KBC

                                                 on October 22, 2012, beyond the midnight deadline and after final payment. KBC is

                                                 liable for full payment of Plaintiff’s Cashier’s check drawn on KBC Bank NV.

                                              24. Wherefore, Plaintiff respectfully requests and prays the Court order KBC Bank NV to

                                                 pay the amount of $35,110.72, to Plaintiff, Midamines Sprl Ltd., plus the applicable

                                                 interest, attorney’s fees and costs of this litigation, and for such other relief as this Court

                                                 deems just and proper.



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                                                                                    PRAYER FOR RELIEF

                                                        WHEREFORE, Plaintiff, Midamines Sprl Ltd., respectfully seeks judgment in its
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                                              favor, and against the defendant KBC Bank NV, and respectfully prays that the Court:

                                              (1)       Order KBC Bank NV to pay the amount of $35,110.72, to Plaintiff, Midamines Sprl

                                                    Ltd., plus the applicable interest, attorney’s fees and costs of this litigation.

                                              (2)       Declaratory Judgment that Plaintiff has the right to possess its funds of $35,110.72,

                                                    plus interest, attorney’s fees and costs.

                                              (3)       Plaintiff seeks compensatory damages, restitution damages, and all other relevant

                                                    damages applicable herein.

                                              (4)       For such other relief as this Court deems just and proper.


                                              Trial by Jury is demanded.

                                              Dated: December 16, 2018

                                              Respectfully Submitted,

                                              FOR PLAINTIFF,

                                              MIDAMINES SPRL LTD.

                                              /s/ Hassan A. Abbas

                                              Hassan A. Abbas
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